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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


ALISHEA KINGDOM, et al.,


                 Plaintiffs,

       v.                                   Civil Docket No. 1:25-cv-691

DONALD J. TRUMP, et al.,


                 Defendants.


                               [PROPOSED] ORDER

      Upon consideration of Plaintiffs’ motions for (i) a preliminary injunction, to

stay agency action, and for provisional class certification, ECF No. 7, and (ii) class

certification, ECF No. 8, and the record herein, it is hereby ordered that Plaintiffs’

motions are DENIED.


DATED:__________                       By:_____________________
                                       Royce C. Lamberth
                                       United States District Judge
